__. Case 2:19-cv-00938-TJS. Document.1-1.. Filed 03/05/19...

EXHIBIT A

Page. 1 of 12

 
_ Case 2:19-cv-00938-TJS... Document 1-1... Filed 03/05/19 Page 2 of 12 °°” _.

 

 

 

 

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naire Telephone: 215.567.8300
Braid Direct Fox: 215.599.1318
: WEINSTOCK jdodig @feldmanshepherd.com
ele) e] ic) aa: Aisa Member ot NJ gar
re a LLM Ih Trial Advocacy; Certified By The
— Supreme Court Of New Jersey As A Civil Tal
Atlormey

February 6, 2019

Double G Logistics, Inc.
6974 Kennedy Road
Trinity, NC 27370

RE: Kathleen Earris, et al v. Robert Sullivan, et al
Court of Common Pleas, Philadelphia County
February Term, 2018 — No. 600325

Gentlemen:

 

Enclosed please find the Civil Action Complaint with regard to the above matter. Please
note you have twenty (20) days in which to file an Answer and/or Entry of Appearance or a

judgment in default may be filed against you.

1 suggest that you forward this to your insurance carrier, or attorney if you do not have an
insurance carrier, so that your interests may be protected in thi A

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JMDAcy
SENT VIA CERTIFIED MAIL.

 

 

 

 

 

41845 Walnut Street ] 21stRecr | Philadelphia | Pennsylvanla qot03 | yw, feldmanshepherd.com

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Court of Common Pleas of Philadelphia County
‘Trial Division

_Case 2:19-cv-00938-TJS. Document.1-1.

_ Filed 03/05/19...Page .3 Of L2---

3364761155 p.3

 

 

Civil Cover Sheet
” PLAINTIFF'S NAME ue
KATBLEEN HARRIS

‘ PLAINTIFES ADDRESS.
WEST CHESTER PA 359380

. whe
FLAWTIFE'S NAME
MARK HARRIS

PLAINTIFES ADRESS
18 ROGEWATER DRIVE

nest CHESTER PA 15389

. .  SEFENDANTS ADDA
EDGEWATER DRIVE 4132 BER ecurRtT
TRINITY SQ 27370

DEFENDANTS NAME
ROBERT SULLIVAN

DEFENDANT'S NAME
DOUBLE G LOGISTICS, INC,

DEFENDANTS ADDRESS
6974 KENNEDY RORD

TRINITY SC 27375

DEFENDANT'S MAME

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PLAINTIFF'S ADDRESS — — ‘DEFENDANT'S ADRESS
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2 - MOTOR VEHICLE ACCIDEN

STATUTORY BASIS FOR GAUSE OF ACTION

- RELATED PENDING CASES (LISTBY CASE CAPTION AND DOCKET NUMBER) BLED is CASE BUBJECT TO
ARO PROTHY COORDINATION ORDER?
: YES NO
MM. BRYANT

TO THE PROTHONOTARY:

 

: Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: KATHLEEN HARRIS ,» MARK HARRIS

Papers may be served at the address set forth below,

NAME OF PLAINTEFF'S/PETITIONER'S/APPELLANTS ATTORNEY [a ADDRESS

JOBN WM. beDIsS

: 1845 WALNUT STREET

218T FLOOR

_PHONE.NUMBER | FAX NUMBER |
(215)567-8300 (215)567+8343
i

SUPREME GOURT IDENTIFICATION NO,
S1c92 |
SIGNATURE OF FIUNG ATTORNEY OR PARTY |
JORN POBIG
|

E-MAILADDRESS
jdodig@feldmanshepherd ~com

PHTLADBLZHIA PA 19103

SATE “BUBMITTE 20
| Wednesday, February 06, 2019, 20:41 am

—" Baal BOPY (Approved By thé Prothonotary Clerk}

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Feldman, Shepherd, Wohigelernter vied
Tanner, Weinstock & Dodig office :
By: John M, Dodig, EsquirefJason A. Daria, Esquire oe
ED. Mo. 51092/73360
1345 Walnut Street

21st Floor

Philadelphia, PA 19103
£215) 567-8300

 

KATHLEEN HARRIS

618 Edgewater Drive

West Chaster, PA 19380
And

MARK HARRIS

618 Edgewater Drive

West Chester, PA 19280

v.

Robert Sullivan
4132 Skyview Court
Trinity, NC 27370
And
DOUBLE G LOGISTICS, INC.
6974 Kennedy Road
Trinity, NC 27370

 

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Attorneys for Plaintifi(s)

' COURT OF COMMON PLEAS
PHILADELPHIA COUNTY

NOTICE TO PLEAD

NOTICE

You have been sued in court, {fyau wish to
defend agalnst the claims set forth in the faitawing pages,
you must take action within iwenty (20} days afler this
complaint and notice are served, by entering @ written
appearance paraonally or by attormey and Eiltng In writing with
the court your dafanse er objections to the clalm set forth
against you.

Yau are warned that if you fail to do so the casa
may proceed whhout you and a judgment may be enlered
against you by tre court without further notice for any maney
claimed in the complalnt 9r for any other claim or rellef
requested by the Plaintiff. You may lese monay or property
or other rights imporiant io you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT
ONCE, IFYOUDO NOT HAVE A LAWYEROR CANNOT
AFFORD ONE, GO TO OR TELEPHONE THE OFFICE SET
FORTH BELOW TO FIND OUT WHERE YOU CAN GET
LEGAL HELP

LAWYER REFERENCE SERVICE

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4104 MARKET STREET
PHILABELPHIA,PA 12107
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Case ID: 190200325

 

 

 
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OME READING CENTER
PHILADELPHIA, PA 19107
(245) 238-1704

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Feldman, Shepherd, Wohlgelernter

Tanner, Weinstock & Dodig

By: John id. Dodig, Esquire/Jason &. Daria, Esquire
LD, No, §1092/73360

4945 Walnut Street

21st Floor

Philadelphia, PA 19103

(215) 567-8360

 

 

Atiorneys for Plaintiff(s)
KATHLEEN HARRIS - COURT OF COMMON PLEAS
§18 Edgewater Drive - PHILADELPHIA COUNTY
West Chester, PA 19380 :
And
MARK HARRIS
618 Edgewater Drive

West Chester, PA 19380
v.

Robert Sullivan
4132 Skyview Court
Trinity, NC 27370
And
DOUBLE G LOGISTICS, INC.
6974 Kennedy Road
Trinity, NC 27370

 

COMPLAINT - CIVIL ACTION

COUNT
KATHLEEN HARRIS V. DEFENDANTS

t, Plaintiff, Kathleen Harris, is an adult individual whe resides at 618
Edgewater Drive, West Chester, Pennsylvania 19380.
z. Plaintiff, Mark Harris, is an adult individual who resides at 6186 Edgewater

Drive, West Chester, Pennsylvania 18380.

3, Defendant, Robert Sullivan, is an adult individual who resides at 4132

Case 1D: 190200325

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Case 2:19-cv-00938-TJS _ Document. 1-1... Filed.03/05/19 --Page 7 of 12

 

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|
: Skyview Court, Trinity, North Carolina 27370,
A. Defendant, Double G Log istics, Inc., is a corporation and/or business entity

with a principal place of business located at 6974 Kennedy Road, Trinity, North Carolina
27370.

5. At all times relevant hereto, Defendant, Robert Sullivan, was an employee
and actual or apparent agent of the Defendant, Double G Logistics, Inc., and was acting
in the course and scope of nis employment and agency with the Defendant, Doubie G
Lagistics, inc.

6. At all relevant times, Defendant, Double G Logistics, inc., regularly
conducted and continues to regularly conduct business in the Commonwealth of
Pennsylvania and Philadelphia County, Pennsylvania.

7. On February 25, 2017, at approximately 10:55 a.m., Plaintiff, Kathleen
Harris, was a passenger In a motor vehicle being operated by the Plaintiff, Mark Harris,
traveling north on Route 100 in West Whitehall Township, Chester County, Pennsylvania
when Plaintiffs’ vehicle was struck in the rear by the tractor trailer being operated by the
Defendant, Robert Sullivan, and owned by the Defendants, Double G Logistics, Inc.,
causing Plaintiff to sustain serious and permanent personal injuries more specifically set
farth below,

8. At the time of the accident, Defendant, Robert Sullivan, was empioyed by
the Defendant, Double G Logistics, inc. Upon information and belief, Defendant, Robert
Sullivan, was acting in the course and scope of his employment at the time of the

aceident.

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9. The accident as aforesaid was caused by the negligence of the Defendants
and was in no manner whatsoever due to any act or failure to act on the part of the

Plaintiffs.

40. The carelessness, recklessness and negligence of the Defendants included

the following:

a. Operating the said motor vehicle ata high and excessive rate of
speed under the circumstances; .

b, Failure to keep a proper lockout ahead;

G. Failure to have said motor vehicle under such control as fo be able to
stop within the assured clear distance ahead,

d. Failure to make proper observations of traffic upon the roadway,

e, Failure to properly use the brakes,

f. Being otherwise negligent under the circumstances;

GQ. Operating a motor yehicle in careless disregard for the safety of
persons or property in violation of 75 Pa.C.S.A. §3714, and

a. Careless and reckless driving.

41. Asa direct and proximate result of the negligence of the Defendants as
aforesaid, Plaintiff, Kathleen Hartis, sustained a concussien with loss of consciousness,
laceration to the upper lip, nasal fracture, neck pain and headaches, as well as damage to
her nerves and nervous system.

42. All of the aforesaid injuries are permanent and have Imposed @ serious
impairment of a body éunction upon the Plaintiff and have causad, and in the future wiil

cause the Plaintiff great pain and suffering and a serious impairment of a bodily function.

Case UD; 190200325
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43. Asa further result of this accident and by reason of the injuries sustained,
Plaintiff has in the past been obligated to receive and undergo medical attention and care
and to expend various sums of money and/or incur various expenses for the injuries she
has suffered, and she may in the future continue to be obliged to expend such sums or to
incur such expenses.
44. Asa further result of this accident and by reason of the injuries suffered,
Plaintiff has in the past suffered and may in the future continue to suffer great pain, agony,
mental anguish, embarrassment and humiliation, and has in the past been hindered and ;
may in the future continue to be hindered from attending to her daily duties, functions and
occupation, to her great detriment and loss,

15. Asa further direct and proximate result of the negligence of the Defendants,
Plaintiff has suffered injuries which have caused her physical and mental impairment,
preventing her fram performing all or substantially all of the materia} acts and duties which
constitute her usual and customary daily activities, constituting a loss of the enjoyment of
the ordinary pleasures of life.

46. Asa further result of this accident and by reason of the injuries sustained,

Plaintiff has sustained an impairment of her ea rning capacity anc power.

 

47, The negligence of the Defendants as stated herein was the proximate

cause or a substantial factor in causing the injuries and damages sustained by the

Plaintiff.
WHEREFORE, Plaintiff, Kathleen Harris, dernands judgment against the

Defendants in a sum in excess of Fifty Thousand ($50,000.00) Dollars, together with

interest and costs. : !
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Case 1D; 190200325
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COUNT IH
MARK HARRIS ¥. DEFENDANTS.

48. Plaintiff incorporates by reference all preceding parag raphs as though fully

set forth herein.

49. Plaintiff, Mark Harris, is the husband of Plaintiff, Kathleen Harris.
20, Asaresult of Defendants’ negligence and carelessness, as set forth above.

Plaintiff, Mark Harris, has been deprived of his wife’s consortium, care, services, comfort,

society, affection and support.

WHEREFORE, Plaintiff, Mark Harris, demands judgment against the Defendanis

in a sum in excess of Fifly ‘Thousand ($50,060.00) Doliars, together with interest and

costs.

 

 

 

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VERIFICATION

|, Kathleen Harris, hereby state that | am one of the Plaintiffs in this action and
verify that the statements made in the foregoing Civil Action Complaint are true and
correct to the best of my knowledge, information and belief. The undersigned
understands thai the statements therein are made subject to the penalties of 18 Pa.c.S,

Section 4904 relating to unsworna falsification to authorities.

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Kathieen Harris

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VERIFICATION

 

\, Mark Harris, hereby state that | am one of the Plalntiffs in this action and verify
that the statements made in the foregoing Civil Action Complaint are true and correct to
the best of my knowledge, information and belief. The undersigned understands that the
statements therein are made subject to the penalties of 18 Pa.C.S. Section 4904 reiating

to unsworn falsification to authorities. .

wv
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SD
Mark Harris

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Case ID: 190200325

 

 

 

 

 
